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_AO91 (Rev. 8/01) Criminal Complaint


                                     United States District Court
                SOUTHERN                                 DISTRICT OF                              TEXAS


             UNITED STATES OF AMERICA                                          CRIMINAL COMPLAINT
                         V.
                    Juan David Ortiz-Flores                                    Case Number:                L-07-PO 595
                      Durango, Durango
                           Mexico



             I, the undersigned complainant state that the following is true and correct to the best of my

       knowledge and belief. On or about February 16, 2007                 in Laredo, Texas                  Webb          County, in
                                                             (Date)
       the          Southern            District   of    Texas,            Juan David Ortiz-Flores              defendant(s) ,


a Mexican           alien, did unlawfully enter and attempt to enter the United States at a place other than
as designated by immigration officers


in violation of Title            8          United States Code, Section(s)                    1325 (a) (1)
I further state that I am a(n)          Senior Border Patrol Agent                       and that this complaint is based on the
                                                    Official Title
following facts: based on statements of the accused and records of the Immigration & Naturalization Service.

Furthermore, it is based on verbal statements by, Juan David Ortiz-Flores                 , who admitted to
being a citizen of     Mexico      , who entered and attempted to enter illegally into the United States by
wading the Rio Grande River near,       Laredo, Texas , thus avoiding immigration inspection, nor
having proper documents to enter, travel through, or remain in the United States. This illegal entry and
attempted entry took place on February 16, 2007

Continued on the attached sheet and made a part of this complaint:                                Yes         X No


                                                                                                  /S/
                                                                           Signature of Complainant

                                                                           Christina Chavez
                                                                           Printed Name of Complainant

Sworn to before me and signed in my presence,

February 22, 2007                                                     at   Laredo, Texas
Date                                                                       City and State


Diana Saldana
U.S. Magistrate Judge
Name and Title of Judicial Officer                                         Signature of Judicial Officer
